Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 13-22500-CIV-ALTONAGA/McALILEY

       JONATHAN LORD, M.D.,

             Plaintiff,

       v.

       UNIVERSITY OF MIAMI,

             Defendant.
       ______________________________________/

                   JOINT NOTICE OF FILING PROPOSED VERDICT FORM1

            Plaintiff, Jonathan Lord, M.D. (“Dr. Lord”), and Defendant, University of Miami (the

   “University”), by and through their undersigned counsel and pursuant to the Court’s instructions

   at the Charge Conference held on September 15, 2022, respectfully submit competing Joint

   Proposed Verdict Forms, attached hereto. Questions 1, 3, 4 of the University’s proposal are the

   same as Questions 1, 2 and 3 of Dr. Lord’s proposal. The parties disagree about Question 2 of the

   University’s proposal (regarding whether Dr. Lord’s alleged protected activity was within the

   scope of his duties as Chief Compliance Officer) and about the phrasing of the damages questions

   (Question 5 of the University’s proposal and Questions 4 and 5 of Dr. Lord’s proposal).




   1
           Dr. Lord believes his proposed verdict form (D.E. 162) is appropriate and objects to a
   verdict form with special interrogatories. Dr. Lord proposes an additional verdict form with special
   interrogatories solely to avoid waiving any objection to the University of Miami’s proposed verdict
   form.
Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 2 of 7




                     Respectfully submitted this 27th day of September, 2022,

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Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 3 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 13-22500-CIV-ALTONAGA/McALILEY

    JONATHAN LORD, M.D.,

           Plaintiff,

    v.

    UNIVERSITY OF MIAMI,

          Defendant.
    ______________________________________/

                         DEFENDANT’S PROPOSED VERDICT FORM

   Do you find from a preponderance of the evidence:

   1.     That Dr. Lord engaged in “protected activity” prior to President Shalala’s decision to

   terminate his employment from the University of Miami?

          Answer Yes or No: _________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this Verdict Form.

          If your answer is “Yes,” go to the next question.

   2.     That Dr. Lord’s “protected activity” was within the scope of his required job duties as Chief

   Compliance Officer for the University of Miami?

          Answer Yes or No: _________

          Please go to the next question.
Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 4 of 7




   3.     That President Shalala knew about Dr. Lord’s “protected activity” before she decided to

   terminate Dr. Lord’s employment with the University of Miami?

          Answer Yes or No: _________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this Verdict Form.

          If your answer is “Yes,” go to the next question.

   4.     That President Shalala terminated Dr. Lord’s employment with the University of Miami

   because of his “protected activity”?

          Answer Yes or No: _________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this Verdict Form.

          If your answer is “Yes,” go to the next question.

   5.     That Dr. Lord is entitled to damages as a result of his termination from the University?

          Answer Yes or No: _________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this Verdict Form.

          If your answer is “Yes,” please identify the amount, if any, that you find Dr. Lord should

          be awarded for each of the following categories of damages, keeping in mind his duty to

          mitigate his damages:

                  Backpay: __________________

                  Interest on the backpay: __________________

                  Lost value of stock and option sales: __________________

                  Emotional distress and public humiliation: __________________
Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 5 of 7




   SO SAY WE ALL.                          DATED: ___________________________



   ___________________________                   ___________________________
      Foreperson’s Signature                       Foreperson’s Juror Number
Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 6 of 7




                          PLAINTIFF’S PROPOSED VERDICT FORM

          Do you find from a preponderance of the evidence:

          1.      That Dr. Lord engaged in “protected activity” prior to President Shalala’s decision

   to terminate his employment from the University of Miami?

          Answer: Yes or No _____________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this verdict form.

          If your answer is “Yes,” please go to the next question.

          2.      That President Shalala knew about Dr. Lord’s “protected activity” before she

   decided to terminate Dr. Lord’s employment with the University of Miami?

          Answer Yes or No: _________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this verdict form.

          If your answer is “Yes,” please go to the next question.

          3.      That President Shalala terminated Dr. Lord’s employment with the University of

   Miami because of his “protected activity”?

          Answer Yes or No: _________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this verdict form.

          If your answer is “Yes,” please go to the next question.

          4.      That Dr. Lord has proven the amount of net lost wages and benefits and

   prejudgment interest through the date of your verdict.

          Answer Yes or No: _________
Case 1:13-cv-22500-CMA Document 219 Entered on FLSD Docket 09/27/2022 Page 7 of 7




          If your answer is “No,” please go to the next question.

          If your answer is “Yes,” please specify the amount: _____________.

          Please go to the next question.

          5.     That Dr. Lord suffered special damages as a result of the University of Miami’s

   retaliatory termination of Dr. Lord’s employment?

          Answer: Yes or No _____________

          If your answer is “No,” this ends your deliberations, and your foreperson should sign and

          date the last page of this verdict form.

          If your answer is “Yes,” please specify the amount for each of the following claimed

          damages:

          Lost Value of Stock and Option Sales __________.

          Emotional Distress and Public Humiliation ___________.



   SO SAY WE ALL.                                              DATE: _________________


   ___________________                                         _______________________
   Foreperson’s Signature                                      Foreperson’s Juror Number
